      Case 22-55595-jwc         Doc 23 Filed 10/12/22 Entered 10/17/22 17:52:47                    Desc Ntc.
                                  Resetting 341 mtg CH. 7 Page 1 of 1
                             UNITED STATES BANKRUPTCY COURT
                                  Northern District of Georgia
                                       Atlanta Division

In    Debtor(s)
Re:   Wyllesha Curry                                Case No.: 22−55595−jwc
      3754 Red Rose Ct                              Chapter: 7
      Loganville, GA 30052                          Judge: Jeffery W. Cavender

      xxx−xx−3326




      NOTICE REGARDING RESCHEDULING OF MEETING OF
              CREDITORS OF CHAPTER 7 DEBTOR

      Debtor did not appear at the previously scheduled Section 341 Meeting of Creditors. The Meeting of
Creditors has been rescheduled to:

    10/12/22 at 02:30 PM
    Meeting will be telephonic. To attend, Dial: 866−909−7148 and enter: 4958999, when prompted
for participation code..

      In accordance with 11 U.S.C. § 343 of the Bankruptcy Code, debtor must appear at the Meeting of
Creditors and submit to examination under oath. If debtor fails to appear at the rescheduled Meeting of
Creditors , the case may be dismissed without further notice or hearing, in accordance with General Order
No. 2 as entered by this Court on October 5, 2005.




Dated: October 17, 2022




                                                    M. Regina Thomas
                                                    Clerk of Court




Form 424
